IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
EASTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff, No. CR 09-2003

vs. REPORT AND RECOMMENDATION

RYAN DEAN HEATH,

 

Defendant.

 

On the 20th day of March 2009, this matter came on for hearing on the Motion to
Suppress (docket number 14) filed by the Defendant on March 5, 2009. On March 23,
2009, however, Defendant filed a Notice of Intent to Enter Guilty Plea (docket number
25). Defendant intends to enter a conditional plea of guilty pursuant to FEDERAL RULE OF
CRIMINAL PROCEDURE 11(a)(2).

In his notice of intent to enter a conditional guilty plea, Defendant preserves his
right to appeal

(1) the legal and instructional issue of whether a mistake of age
defense is available to a charge under 18 U.S.C. § 2251(a) and
(e), as alleged in Count I of the Indictment, (2) his sentence
and (3) other usual and customary findings reserved for appeal
in plea agreements.

See Defendant’s Notice of Intent to Enter Guilty Plea (docket number 25). Significantly,
Defendant does not preserve his right to appeal any issues raised in his motion to suppress.
Accordingly, Defendant has waived those issues. United States v. Smith, 422 F.3d 715,
724 (8th Cir. 2005).

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RECOMMENDATION
It is respectfully recommended that the Motion to Suppress (docket number 14) filed
by the Defendant on March 5, 2009 be denied as moot.
The parties are advised, pursuant to 28 U.S.C. § 636(b)(1), that within ten (10) days
after being served with a copy of this Report and Recommendation, any party may serve
and file written objections with the District Court.

DATED this 24th day of March, 2009.

 

JON STUART SCOLES
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF IOWA

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